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     ~AO 245B (CASD) (Rev. 121lt) Judgment in a Criminal Case
               Sheet 1


                                                                                                                     ";:",}
                                              UNITED STATES DISTRICT COURTL,ji~                                                                  8: 21
                                                  SOUTHERN DISTRICT OF CALIFORNIA

                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASEflI
                                        v.                                         (For Offenses Committed On       or After Nevembefh 1987) .
                   NORMAN MARTIN BROHOLM (I)                                       Case Number: lICR4346-DMS
                                                                                   Victor Pippins, CJA
                                                                                   Defendant's Attorney
     REGISTRATION NO. 27492298

    D
     THE DEFENDANT:
     181 pleaded guilty to count(s) _l_o_f_th_e_I_n_d_ic_tm_en_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D     was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the followirlg offense(s):
                                                                                                                                           Count
     Title & Section                         Nature of Offense                                                                            Number(s)
21 USC 952, 960, 963                  CONSPIRACY TO IMPORT MARIJUANA                                                                         I




        The defendant is sentenced as provided in pages 2 through _ _..:4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.


 181 Count(s)_re_m_a_i_ni_n""g_ _ _ _ _ _ _ _ _ _ ---------------------------------------
  D The defendant has been found not guilty on count(s)
                                                  _ _ _ _ _ _ _ is 181 areD dismissed on the motion of the United States.
 181 Assessment: $100.00.

  181 Fine waived.                                  D   Forfeiture pursuant to order filed                                     , in~luded herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 \jays of any changdI of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are ~11y paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney ofany material change in the defendant's econotpic circumstances.,

                                                                              JUNE 27, 2012




                                                                             HON. DANA M. SABRAWi
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                              II CR4346-DMS
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page    2     of       4
 DEFENDANT: NORMAN MARTIN BROHOLM (1)
 CASE NUMBER: llCR4346-DMS
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         SEVENTY-EIGHT (78) MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         DEFENDANT PARTICIPATE IN THE SOO HOURS DRUG TREATMENT PROGRAM
         DEFENDANT BE PLACED IN A WESTERN REGION FACILITY



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _- - - ­
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                                                                                             I


        o before
        o notified by the United States MarshaL
               as
                       ----------------------------------------------~----------------------

        o notified by the Probation or Pretrial Services Office.
               as


                                                              RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _______________________ , with a certified copy of this judgment.


                                                                                          UNHED STATES MARSHAL

                                                                    By _______________________________________
                                                                                      DEPUTy,: UNITED STATES MARSHAL




                                                                                                                    llCR4346-DMS
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AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 Supervised Release
                                                                                                             Judgment-Page - L - of _ _4'--_ _
DEFENDANT: NORMAN MARTIN BROHOLM (I)                                                                 II
CASE NUMBER: llCR4346-DMS
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FOUR (4) YEARS.

         The defendant shall report ro the probation office in the district ro which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain frpm any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                     '    -­
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to srction 3 of the DNA Analysis
       Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a){7) and 3583(d).
       The defendant shall comply with tile requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in wh~ he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, it' applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in ac40rdance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by thi~ court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by, the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow thci instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities~
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possesS" use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except a$ prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confIScation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested!or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special ageD!! of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notii}' third parties of risks that malY be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to $:lake such notifications and to confirm the
         defendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                    Sheet 4 -   Special Conditions
                                                                                                          Judgment-Page ~ of _ _4~_ _
       DEFENDANT: NORMAN MARTIN BROHOLM (1)
       CASE NUMBER: llCR4346-DMS




                                                 SPECIAL CONDITIONS OF SUPERVISION
Ig] Submit person, residence, office or vehicle to a search, conducted by a United States Probation .officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o deportation,
  If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
               exclusion or voluntary departure.                                                     '
o Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
Ig] Not enter or reside in the Republic of Mexico without written permission of the Court or proba~on officer.
Ig] Report all vehicles owned or operated, or in which you have an interest, to the probation officei.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take alL medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court autborizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the prob~tion officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to conttlbute to the costs ofservices rendered in an
    amount to be determined by the probation officer, based on the defendanfs ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.                                                                             .
D Provide complete disclosure of personal and business financial records to the probation officer i,ls requested.
                                                                                                      I

D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
Ig] Resolve all outstanding warrants within          90    days.
D Complete               hours of community service in a program approved by the probation officer '\\1ithin
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period ~f up to 120 days.
Ig] Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer an& the treatment provider. May be required to
    contribute to the costs ofservices rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                  llCR4346-DMS
